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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                          4:12CR00186-4 DPM


MARK AARON ZANE PRUITT

                                    ORDER

      Defendant is remanded to the custody of the United States Marshal until bed

space is available in inpatient drug treatment. Once bed space is available,

Defendant must be transported directly from USMS custody and report to the

inpatient drug treatment facility. Once Defendant arrives at inpatient drug

treatment, he must wear a location monitoring device. After he completes inpatient

drug treatment, Defendant must remain in chemical-free living until his July 19,

2016 Revocation Hearing before United States District Judge D. P. Marshall Jr.

      IT IS SO ORDERED this 25th day of May, 2016.



                                     ___________________________________
                                     UNITED STATES MAGISTRATE JUDGE
